            Case 1:21-cr-00350-PLF Document 57 Filed 07/08/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )              Case No. 1:21-CR-350-PLF
                                               )
ANTIONNE DE SHAUN BRODNAX,                     )
                    Defendant                  )
                                               )

                       Stipulation by the Parties for Sentencing Hearing
       COMES NOW, Antionne De Shaun Brodnax, by counsel and counsel for the United

States and files this stipulation for the sentencing hearing scheduled in this matter for July 12,

2022. The parties hereby stipulate and agree that:

       1. Defendant Brodnax was first contacted by FBI agents in Richmond, Virginia on

            January 15, 2021. At that time, he admitted to the agents that he had taken videos

            on his iphone while he was inside the Capitol on January 6, 2021, and showed

            one such video to the agents.

       2. On March 11, 2021, the defendant was arrested on a criminal complaint in this

            case and his iphone was seized by the FBI.

       3.    In April 2021, search warrants were served for the defendant’s social media

            accounts, and the returns included videos apparently recorded by the defendant

            inside the Capitol on January 6, 2021, but did not include videos that other

            evidence suggested the defendant had recorded, with his iphone, when he was in

            the Capitol on that date.

       4. In August 2021, federal agents executed a search warrant for the iphone seized

            from the defendant on March 11, 2021. No videos recorded inside the Capitol

            were recovered.

                                                   1
         Case 1:21-cr-00350-PLF Document 57 Filed 07/08/22 Page 2 of 2




SO STIPULATED:

_________/s/______________
Mary E. Maguire
Assistant Federal Public Defender
701 E. Broad Street, Ste. 3600
Richmond, VA 23219
(804) 565-0860 - direct
(804) 648-5033 – fax
Mary_Maguire@fd.org

_________/s___________________
Michael Liebman
Assistant U.S. Attorney
Patrick Henry Building
601 D St. NW, rm. 4-1501
Washington, D.C. 20530
(202) 252-7243 – direct
Michael.Liebman@usdoj.gov




                                       2
